                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                3:08-CR-00134-RJC-DSC
 USA                                               )
                                                   )
     v.                                            )                 ORDER
                                                   )
 JULIO CESAR ROSALES LOPEZ (4)                     )
                                                   )



          THIS MATTER comes before the Court upon the defendant’s Objection, (Doc. No.

1677), to a magistrate judge’s denial of his motion for trial transcripts, (Doc. No. 1675).

          A duplicate motion for trial transcripts was filed in Civil Case No. 3:18-cv-144, (Doc.

No. 8). Because the defendant seeks the transcripts for use in challenging his conviction and

sentence pursuant to 28 U.S.C. § 2255, the Court will rule on the motion filed in the civil case.

          IT IS, THEREFORE, ORDERED that defendant’s Objection, (Doc. No. 1677), is

DENIED as moot.


 Signed: September 20, 2018




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